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 9                    CENTRAL DISTRICT OF CALIFORNIA

l~   UNITED STATES OF AMERICA,            ~~iN~   .:~   1903        r ~~


11   STATE OF CALIFORNIA,
     STATE OF COLORADO,                   COMPLAINT FOR VIOLATION OF
12   STATE OF CONNECTICUT,                FEDERAL AND STATE FALSE
13   STATE OF DELAWARE,                   CLAIMS ACTS
     STATE OF FLORIDA,
14   STATE OF GEORGIA,                    FILED UNDER SEAL PURSUANT
15   STATE OF HAWAII,                     TO 31 U.S.C. §3730(b)(2)
     STATE OF ILLINOIS,
16   STATE OF INDIANA,                    DEMAND FOR JURY TRIAL
17   STATE OF IOWA,
     STATE OF LOUISIANA,
18   STATE OF MARYLAND,
19   COMMONWEALTH OF
     MASSACHUSETTS,
20   STATE OF MICHIGAN,
21   STATE OF MINNESOTA,
     STATE OF MONTANA,
22   STATE OF NEVADA,
23   STATE OF NEW JERSEY,
     STATE OF NEW MEXICO,
24   STATE OF NEW YORK,
25   STATE OF NORTH CAROLINA,
     STATE OF OKLAHOMA,
26   STATE OF RHODE ISLAND,
27   STATE OF TENNESSEE,
28
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 1 STATE OF TEXAS,
   STATE OF VERMONT,
 2 COMMONWEALTH OF VIRGINIA,
 3 STATE OF WASHINGTON,
   and DISTRICT OF COLUMBIA,
 4 ex rel. DR. KUO CHAO,
 5
                         Plaintiffs,
 6
 7       vs.

 8 MEDTRONIC PLC,MEDTRONIC
 9 VASCULAR,INC., COVIDIEN LP,
   COVIDIEN SALES LLC,EV3,INC.,
10 and MICRO THERAPEUTICS,INC.,
11
                         Defendants.
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  1         Plaintiff/Relator, Dr. Kuo Chao, submits this Complaint on behalf of the United
  2 ~ ~ States of America, the States of California, Colorado, Connecticut, Delaware, Florida,
  3 ~ ~ Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana, Maryland, Massachusetts,
 4 ~ ~ Michigan, Minnesota, Montana, Nevada, New Jersey, New Mexico, New York, North
  5 ~ ~ Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Vermont, Virginia,
 6 ~ ~ Washington, and the District of Columbia (collectively "the States and the District of
 7 ~ ~ Columbia"). This Complaint against Defendants Medtronic PLC; Medtronic Vascular,
 8 Inc.; Covidien LP; Covidien Sales LLC; ev3, Inc.; and Micro Therapeutics, Inc.
 9 (collectively the "Defendants"), is based on personal knowledge, relevant documents,
10 and information and belief.
11                            I.PRELIMINARY STATEMENT
12         1.     This is an action to recover damages and civil penalties on behalf of the
13 United States of America, the States and the District of Columbia, arising from false
14 and/or fraudulent records, statements, and claims made, used, or presented and caused
15 to be made, used, or presented, by the Defendants, and/or their agents, employees, and
16 co-conspirators, in violation of the federal False Claims Act("FCA"), 31 U.S.C.
17 §3729 et seq., as amended, and the governing statutes of the States and the District of
18 Columbia.
19         2.     Beginning in or before 2011, and continuing to the present, the
20 Defendants have illegally promoted two medical devices —the Pipeline Embolization
21 Device (the "PED")and the Pipeline Flex Embolization Device (the "PFED," and
22 together with the PED the "Pipelines"). The Defendants' illegal promotion took two
23 main forms. First, the Defendants promoted the use of Pipelines through an illegal
24 kickback scheme in which they have paid millions of dollars to participating doctors.
25 Second, although the FDA only approved the sale of Pipelines for limited uses
26 (specifically for use in certain segments of the internal carotid artery to treat
27 aneurysms of certain sizes), the Defendants have mounted a national campaign to
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  1 ~~ promote Pipelines for uses far beyond the FDA-approved indications. As alleged
  2 ~ ~ below, the Defendants' "off-label" marketing of Pipelines promoted their use (i) in
  3 ~ ~ unapproved arteries or unapproved segments of the internal carotid artery,(ii) to treat
 4 ~ ~ aneurysms of unapproved sizes, and (iii) in unapproved combinations with the
 5 ~ ~ Defendants' other aneurysm treatment products. Such uses are riskier and far more
 6 ~ ~ dangerous to patients than the FDA-approved uses for the Pipelines.
 7         3.     The Defendants' kickback scheme and off-label marketing have been
 8 ~ ~ very profitable. The Defendants charge between $13,700 and $14,995 for a single
 9 PED, and between $14,220 and $15,480 for a single PFED. In 2015,the Defendants
10 sold 3,363 PFEDs in the U.S., resulting in sales of approximately $47.8 million. In the
1 1 fiscal quarter ended April 29, 2015 the Defendants' Pipeline sales were $18.2 million
12 ($73.1 million on an annualized basis), and in the fiscal quarter ended Apri129, 2016
13 C the Defendants' Pipeline sales were $24.7 million ($98.9 million on an annualized
14 ~ basis).
15         4.     The Defendants' financial success is due mainly to Pipeline sales tainted
16 by their payment of kickbacks to prescribing physicians. The Defendants have made
17 payments to hundreds of doctors, each of roughly $1,000 to $1,500 in connection with
18 an ostensible data collection program that was open to any physician who has
19 prescribed a Pipeline. In addition, The Defendants made much larger payments to
20 approximately sixty key doctors who are the most effective at generating Pipeline
21 sales, under the Defendants' so-called "proctor" program. Because of their ability to
22 generate substantial revenue, the Defendants effectively offered these proctor
23 physicians up to one-third of the revenue from their use of Pipelines (through sham
24 consulting and services arrangements), or roughly $4,000 to $5,000 per Pipeline. A
25 significant portion of all Pipeline sales have been tainted by the Defendants' kickback
26 scheme.
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  1        5.     The Defendants' financial success is also the result of prohibited off-label
 2 ~ ~ marketing. As a direct result ofthe Defendants' improper practices, approximately
 3 ~ ~ 60% of all U.S. sales of Pipelines are off-label. Therefore, in 2015 alone there were
 4 ~ ~ approximately $48 million in off-label Pipeline sales (based approximately $80
 5 ~ ~ million oftota12015 sales). Total off-label sales of Pipelines since they were first
 6 ~ ~ marketed in the U.S. in 2011 likely amount to hundreds of millions of dollars. Certain
 7 ~ ~ of the off-label uses promoted by the Defendants pose heightened health risks to
 8 patients. The Defendants are aware of such risks, and have actively concealed them
 9 from the FDA.
10        6.     A substantial portion ofthe Pipeline sales tainted by kickbacks and off-
1 1 label marketing have been reimbursed by federal and state health insurance programs,
12 including Medicaid and Medicare. Defendants have caused these programs to pay
13 false or fraudulent claims, including but without limitation the claims identified in this
14 Complaint, for reimbursement ofkickback-induced and off-label uses ofPipelines that
15 ~ would not have been paid but for Defendants' illegal practices.
16        7.     The FCA was enacted during the Civil War, and was substantially
17 amended in 1986. Congress amended the FCA then to enhance the federal
18 government's ability to recover losses sustained from fraud against the United States
19 after finding that fraud in federal programs was pervasive and that the FCA, which
20 Congress characterized as the primary tool for combating fraud, needed
21 modernization. Congress intended that the amendments create incentives for
22 individuals with knowledge of fraud against the United States to disclose the
23 information without fear of reprisals or government inaction, and to encourage the
24 private bar to commit legal resources to prosecuting fraud on the United States' behalf
25 and in partnership with the United States. Subsequently, many states enacted their
26 own false claims acts.
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  1        8.     The FCA provides that any person who knowingly submits, or causes the
 2 ~ ~ submission of, a false or fraudulent claim to the U.S. Government for payment or
 3 ~ ~ approval is liable for a civil penalty of up to $11,000 for each such claim (recently
 4 ~ ~ increased to $21,563 for each violation occurring after November 2, 2015), plus three
 5 ~ ~ times the amount of the damages sustained by the Government. The FCA defines
 6 ~ ~ "knowingly" to include acts committed with "actual knowledge," as well as acts
 7 ~ ~ committed "in deliberate ignorance" or in "reckless disregard" of their truth or falsity.
 8 Liability attaches when a defendant seeks, or causes others to seek, payment that is
 9 unwarranted from the Government.
10         9.     The FCA allows any person having information about a false or
1 1 fraudulent claim against the United States to bring an action for himself and the
12 ~ federal government, and to share in any recovery.
13         10.    All of the Defendants have violated the federal FCA. As set forth below,
14 the Defendants' acts also constitute violations of the California False Claims Act, Cal.
15 Gov't Code §12650 et seq.; the Colorado Medicaid False Claims Act, Colo. Rev. Stat.
16 §25.5-4-303.5 et seq.; the Connecticut False Claims Act, Conn. Gen. Stat. §4-274 et
17 seq.; the Delaware False Claims and Reporting Act, Del. Code tit. 6, §1201 et seq.; the
18 District of Columbia False Claims Act, D.C. Code §2-381.01 et seq.; the Florida False
19 Claims Act, Fla. Stat. §68.081 et seq.; the Georgia State False Medicaid Claims Act,
20 Ga. Code §49-4-168 et seq.; the Hawaii False Claims Act, Haw. Rev. Stat. §661-21 et
21 seq.; the Illinois False Claims Act, 740 Ill. Comp. Stat. 175 / 1 et seq.; the Indiana
22 Medicaid False Claims and Whistleblower Protection Act, Ind. Code §5-11-5.7 et
23 seq.; the Iowa False Claims Act, Iowa Code §685.1 et seq.; the Louisiana Medical
24 Assistance Programs Integrity Law, La. Rev. Stat. §46:437.1 et seq.; the Maryland
25 False Health Claims Act, Md. Code Ann. Health-Gen. Prov. §2-601 et seq.; the
26 Massachusetts False Claims Act, Mass. Gen. Laws ch. 12, §5 et seq.; the Michigan
27 Medicaid False Claim Act, Mich. Comp. Laws §400.601 et seq.; the Minnesota False
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  1 ~~ Claims Act, Minn. Stat. §15C.01 et seq.; the Montana False Claims Act, Mont. Code
  2 ~ ~ Ann• §17-8-401 et seq.; the Nevada False Claims Act, Nev. Rev. Stat. §357.010 et
  3 ~ ~ seq.; the New Jersey False Claims Act, N.J. Rev. Stat. §2A:32C-1 et seq.; the New
 4 ~ ~ Mexico Medicaid False Claims Act, N.M. Stat. Ann. §27-14-1 et seq.; the New York
 5 ~ ~ False Claims Act, N.Y. State Fin. Law §187 et seq.; the North Carolina False Claims
 6 ~ ~ Act, N.C. Gen. Stat. §1-605 et seq.; the Oklahoma Medicaid False Claims Act, Okla.
 7 ~ ~ Stat. tit. 63, §5053 et seq.; the Rhode Island False Claims Act, R.I. Gen. Laws §9-1.1-
 8 1 et seq.; the Tennessee Medicaid False Claims Act, Tenn. Code Ann. §71-5-181 et
 9 seq.; the Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code Ann. §36.001
10 et seq.; the Vermont False Claims Act, Vt. Stat. Ann. tit. 32, §630 et seq.; the Virginia
1 1 Fraud Against Taxpayers Act, Va. Code Ann. §8.01-216.1 et seq.; and the
12 ~ Washington State Medicaid Fraud False Claims Act, Wash. Rev. Code §74.66.005 et
13 ~~
14         11.   Based on these provisions and through this action, Dr. Chao seeks to
15 recover damages and civil penalties arising from Defendants' making or causing to be
16 made false or fraudulent records, statements, and/or claims, in connection with the
17 Defendants' payment of kickbacks and off-label marketing of Pipelines. The
18 Defendants acted knowingly, deliberately, and recklessly in their kickback scheme
19 and off-label marketing, and knew or should have known that those practices would
20 cause the submission of false claims to federal and state health insurance programs for
21 uses of Pipelines that were not eligible for program reimbursement. Furthermore,
22 Defendants knew, or should have known, that government health care programs
23 would not have paid for Pipelines if these programs knew of the Defendants'
24 kickbacks and off-label marketing.
25                                       II. PARTIES
26         12.   Dr. Kuo Chao is a resident of California. He is a physician and has been
27 ~ in practice for more than twenty years since graduating from the University of
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  1 ~~ California, Los Angeles David Geffen School of Medicine in 1995. He is affiliated
 2 ~ ~ with Kaiser Permanente Los Angeles Medical Center. Dr. Chao specializes in
 3 ~ ~ interventional neuroradiology, and is experienced in the treatment of aneurysms. He
 4 ~ ~ has been an advisor to the FDA's Division of Neurological and Physical Medicine
 5 ~ ~ Devices, Office of Device Evaluation, for approximately the last five years. Dr. Chao
 6 ~ ~ learned of the Defendants' practices discussed in this Complaint directly from the
 7 ~ ~ Defendants' officers, clinical training staff, sales personnel and physician proctors,
 8 while in the course of his work as a practicing physician. Dr. Chao gained further
 9 insight into Defendants' practices while working as an advisor to the FDA's Office of
10 Device Evaluation, by analyzing documents submitted to the FDA by the Defendants.
1 1 He is the original source of all information appearing in this Complaint, and is not
12 aware of any public disclosure of such information.
13         13.   Defendant ev3, Inc.("ev3") is a corporation organized under the laws of
14 ~ Delaware, with its principal place of business in Plymouth, Minnesota. Defendant ev3
15 is a global health care company engaged in the development, manufacture and
16 marketing of medical devices. In June 2009, Defendant ev3 acquired Chestnut
17 Medical Technologies, Inc.("Chestnut"), the original developer of the PED. Chestnut
18 has since merged into Defendant ev3 or one of its subsidiaries. Defendant ev3 was
19 purchased by Covidien PLC ("Covidien") in July 2010. Covidien and ev3 were
20 purchased by Defendant Medtronic PLC in January 2015.
21         14.   Defendant Micro Therapeutics, Inc.("MTI")is a corporation organized
22 under the laws of Maryland, with its principal place of business in Irvine, California.
23 Defendant MTI engages in the manufacture and marketing of medical devices for the
24 diagnosis and treatment of vascular disease. Defendant MTI has been a subsidiary of
25 Defendant ev3 since January 2006. Defendant MTI does business under the name ev3
26 Neurovascular. FDA records list Defendant MTI as the applicant for approvals of
27 Pipelines, and as the manufacturer of Pipelines.
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  1        15.    Defendant Covidien LP is a limited partnership organized under the laws
 2 ~ ~ of Delaware, with its principal office in Mansfield, Massachusetts. Defendant
 3 ~ ~ Covidien LP was a subsidiary of Covidien until January 2015, when Covidien and its
 4 ~ ~ subsidiaries (including Covidien LP) were purchased by Defendant Medtronic.
 5 ~ ~ Covidien LP made numerous kickback payments to physicians to encourage use of
 6 ~ ~ Pipelines (even if such use was off-label).
 7         16.    Defendant Covidien Sales LLC is a limited liability company organized
 8 ~ ~ under the laws of Delaware, with its principal office in Mansfield, Massachusetts.
 9 Defendant Covidien Sales LLC was a subsidiary of Covidien until January 2015,
10 when Covidien and its subsidiaries (including Covidien Sales LLC)were purchased
1 1 by Defendant Medtronic. Covidien Sales LLC made numerous kickback payments to
12 ~ physicians to encourage use of Pipelines (even if such use was off-label).
13         17.    Defendant Medtronic PLC("Medtronic") is a company organized under
14 ~ the laws of Ireland, with its principal place of business in Dublin, Ireland, and its U.S.
15 headquarters in Minneapolis, Minnesota. Defendant Medtronic is among the world's
16 largest medical technology companies. In fiscal year 2016 Medtronic employed more
17 than 88,000 people worldwide; its net sales were approximately $28.8 billion; and its
18 before-tax profits were approximately $4.3 billion. Defendants Covidien LP, Covidien
19 Sales LLC, ev3, and MTI have been subsidiaries of Defendant Medtronic since
20 Medtronic's acquisition of Covidien in January 2015. As a result of the acquisition of
21 Covidien and its subsidiaries, Defendant Medtronic is responsible for all liabilities
22 resulting from any acts or omissions of Covidien and these subsidiaries, including acts
23 or omissions prior to the acquisition.
24         18.   Defendant Medtronic Vascular, Inc. is a corporation organized under the
25 laws of Delaware, with its principal office in Santa Rosa, California. Defendant
26 Medtronic Vascular, Inc. is a subsidiary of Defendant Medtronic. Medtronic Vascular,
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  1 ~~ Inc. made numerous kickback payments to physicians to encourage use of Pipelines
 2 (even when such use was off-label).
 3         19.    The Defendants are often referred to collectively in this Complaint
 4 because they each are integrally involved in the marketing and sale of Pipelines, they
 5 have worked in concert and as a joint or common enterprise in marketing and selling
 6 ~ ~ Pipelines, and they have otherwise conspired in furtherance of and collectively
 7 ~ ~ engaged in the illegal acts described herein.
 8                           III. JURISDICTION AND VENUE
 9         20.    This Court has jurisdiction over the subject matter of this action pursuant
10 '~ to 28 U.S.C. §1331, 28 U.S.C. §1367, and 31 U.S.C. §3732, the latter of which
1 1 specifically confers jurisdiction on this Court for actions brought pursuant to 31
12 U.S.C. §§3729 and 3730. Under 31 U.S.C. §3730(e), there has been no statutorily
13 relevant public disclosure ofthe "allegations or transactions" in this Complaint.
14         21.    This Court has personal jurisdiction over the Defendants pursuant to 31
15 U.S.C. §3732(a) because that section authorizes nationwide service of process and
16 because the Defendants have minimum contacts with the United States. Moreover, the
17 ~ Defendants can be found in, reside, or transact or have transacted business in this
18 District.
19         22.    Venue is proper in this District pursuant to 31 U.S.C. §3732(a) because
20 the Defendants can be found in and transact or have transacted business in this
21 District. At all times relevant to this Complaint, the Defendants regularly conducted
22 substantial business within this District, maintained employees and offices in this
23 District, and made significant sales within this District. The statutory violations
24 alleged herein occurred in this District, as well as throughout the United States as part
25 ~ of the Defendants' nationwide fraudulent marketing scheme.
26                                   IV. BACKGROUND
27        23.    Pipelines are approved by the FDA for use in treating certain aneurysms.
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  1         A.     Aneurysms And Their Medical Treatment
 2          24.    An aneurysm is ablood-filled bulge in the wall of a blood vessel(such as
 3 an artery). Aneurysms result when the pressure of blood within the blood vessel
 4 causes a weak area of the vessel wall to expand and fill with blood. Below is an
 5 illustration of an aneurysm.
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12                            Figure 1. Aneurysm illustration
13
            25.   Aneurysms can have varying symptoms, or no symptoms at all,
14
      depending on their location within the body, as the aneurysm exerts pressure on
15
      surrounding tissue and organs. If an aneurysm ruptures, breaking the wall of the blood
16 vessel,
           internal bleeding can result. Aneurysms can result in death, particularly in the
17
   case of ruptured aneurysms.
18
         26. Aneurysms can be treated in a variety of ways. Drugs or behavioral
19
   changes to lower blood pressure can reduce the risks from an aneurysm. A common
20
   treatment is "clipping," an invasive surgical procedure in which a small metal clip is
21 placed
           on the aneurysm's neck (where the aneurysm opens from the blood vessel),
22
   sealing off the aneurysm from the blood vessel. Clipping is best suited for treatment of
23
   aneurysms that are easily accessed through open surgery. For more difficult to access
24 aneurysms, such those in
                     as         the head, other forms of treatment are sometimes
25 preferred.
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  1        27.    Another common aneurysm treatment is "coiling," which can treat
 2 aneurysms that are more difficult to access. Using this technique, a surgeon inserts a
 3 ~ ~ hollow plastic tube into an easily accessible artery and threads the tube through the
 4 ~~ patient's body to the aneurysm. The surgeon then uses a guide wire to push a flexible
 5 coiling wire through the tube and into the aneurysm. Once inside the aneurysm this
 6 coiling wire bunches up and disrupts blood flow in the aneurysm, causing blood to
 7 clot. This clotting effectively blocks off the aneurysm from the artery thereby
 8 reducing the risk of rupture and shrinking the aneurysm over time.
 9         28.    Although coiling can be used to treat aneurysms in parts ofthe body that
10 are difficult to access through open surgery, it cannot treat all aneurysms. Coiling does
1 1 not effectively treat aneurysms that are large or that have wide necks.
12         B.    Pipelines
13         29.   Pipelines represent an additional approach to aneurysm treatment. A
14 Pipeline is a flexible mesh cylinder that expands to take on and reinforce the shape of
15 ~ the blood vessel in which it is placed.
16         30.   Like coils, Pipelines are also used to treat aneurysms in parts of the body
17' that are difficult to access through open surgery. Unlike coils, Pipelines are supposed
18 to be used to treat large aneurysms with wide necks.
19         31.   The technique used to place a Pipeline in a blood vessel is similar to that
20 used in coiling. When using a Pipeline a surgeon inserts a hollow plastic tube into an
21 easily accessible artery and threads the tube through the patient's body to the
22 ~ aneurysm. The surgeon then uses a guide wire to push the Pipeline through the tube,
23 ~ positioning the Pipeline across the neck of the aneurysm (as illustrated below).
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                    Figure 2. Pipeline placed across wide-necked aneurysm
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             32.   Once in place, the Pipeline decreases blood flow into the aneurysm,
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      causing blood to clot. This clotting effectively blocks off the aneurysm from the
11
      artery, thereby reducing the risk of rupture and shrinking the aneurysm over time.
12
             33.   The Defendants refer to the use of Pipelines as "flow diversion"
13
      treatment because it diverts blood flow away from the aneurysm, toward the normal
14
      pathway of the blood vessel.
15
             34.   The FDA approved the PED in 2011 and the PFED in 2015. The PFED is
16
      an updated, second-generation version of the PED.
17
             35.   The FDA has approved Pipelines for "the endovascular treatment of
18
      adults(22 years of age and older) with large or giant wide-necked intracranial
19
      aneurysms in the internal carotid artery from the petrous to the superior hypophyseal
20
     segments."
21
             36.   Endovascular treatment refers to introduction of the device from within a
22
     blood vessel (as described above), as opposed to open surgery.
23
             37.   Intracranial aneurysms are those occurring in brain arteries.
24
             38.   Large or giant aneurysms have a maximum diameter 10 mm wide or
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     ~ greater.
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  1        39.    Wide-necked aneurysms have a neck 4 mm wide or greater, and have a
 2 neck that is more than half the size of the aneurysm's maximum diameter.
 3         40.   The FDA has only approved use of a Pipeline to treat an aneurysm that is
 4 both (i) large or giant, and (ii) wide-necked. Use of a Pipeline to treat an aneurysm
 5 meeting only one ofthese conditions is an off-label use.
 6         41.   The internal carotid arteries are a pair of arteries on either side of the
 7 head and neck. The internal carotid arteries supply blood to the brain and eyes, and
 8 send branches to the forehead and nose. Below is an illustration showing the location
 9 of the internal carotid arteries.
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Ig                                                   C~rotia Artery

19                    Figure 3. Location of the internal carotid artery

20        42.    In clinical settings the internal carotid artery is typically classified into

21 the following seven segments: cervical(C1), petrous(C2), lacerum (C3), cavernous
    C4), clinoid (CS), ophthalmic (C6), and communicating (C7). These segments are
22 (
23 labeled in the following illustration.
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                      Figure 4. Segments of the internal carotid artery
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12         43.    Pipelines are FDA-approved for use from the petrous segment(C2)to the
                                     superior hypophyseal artery is located within the
13 superior hypophyseal segment. The
14 ophthalmic segment(C6).
15         44.    The FDA has not approved the use of Pipelines in combination with coils

16 to treat the same aneurysm.
17        45. As alleged below, notwithstanding the Defendants' knowledge that they

18 could not lawfully promote Pipelines for non-approved uses, the Defendants adopted
                                                -label and unapproved uses. These non-
19 marketing strategies that led to numerous off
20 approved uses included (i) treatment of aneurysms not meeting the approved size
                                                             than or equal to 10 mm,
21 specifications (requiring both a maximum diameter greater
                                                            of
22 and a neck greater than or equal to 4 mm),(ii) treatment aneurysms located outside
                                                        artery, and (iii) use in
23 of the approved C2—C6 range of the internal carotid
24 combination with the Defendants' coiling products.
25      46. The Defendants have initiated three recalls of Pipelines. First, in August
                                                                              with
26 2013 the Defendants recalled certain PEDs because they were shipped
27 instructions that failed to list certain contraindications (possible negative interactions
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  1 ~~ that preclude use of the PED for certain patients). Second, in April 2014 the
 2 ~ ~ Defendants recalled certain PEDs because the laminate coating on their delivery wires
 3 was susceptible to detaching while in the body, posing a serious risk of harm to
 4 patients. Third, in October 2015 the Defendants recalled certain PEDs and PFEDs
 5 ~ ~ shipped in the U.S. because they included instructions intended for distribution in
 6 ~ ~ Europe.
 7 I I V. GOVERNMENT HEALTH CARE PROGRAMS AND APPLICABLE LAW
 8         A.     FDA Regulation Of Medical Devices
 9         47.    Medical devices are generally subject to safety regulation by the Food
10 and Drug Administration("FDA")under the Food, Drug, and Cosmetics Act
1 1 ("FDCA"),21 U.S.C. §§301-399f.
12         48.    Congress enacted the Medical Device Amendments of 1976, 21 U.S.C.
13 ~ §360c et seq.("MDA"),to supplement the FDCA and to "provide for the safety and
14 ~ effectiveness of medical devices intended for human use." Pub. L. No. 94-295,90
15 Stat. 539(1976)(preamble). The MDA conferred greater authority on the FDA to
16 regulate medical devices and to prevent devices lacking evidence of safety and
17 effectiveness from being marketed in the United States.
18         49.    The Center for Devices and Radiological Health("CDRH")is the FDA
19 regulatory office which has the responsibility to protect the health and safety of
20 American consumers by ensuring that medical devices designed for use in the human
21 ~ body are safe and effective for their intended uses and are accurately labeled.
22         50.   A medical device is "an instrument, apparatus, implement, machine,
23 contrivance, implant, in vitro reagent, or other similar or related article, including any
24 component, part, or accessory, which is ...(2)intended for use in the diagnosis of
25 disease or other conditions, or in the cure, mitigation, treatment, or prevention of
26 disease, in man or other animals...." 21 U.S.C. §321(h).
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  1        51.    Pursuant to its authority under the MDA,the FDA established three risk-
 2 ~~ based classifications for medical devices. Classes I, II, and III represent low,
 3 ~ ~ moderate, and high-risk categories based on the intended use ofthe device.
 4         52.    Class I devices, such as bandages, are considered relatively safe and thus
 5 ~~ are the least regulated. Such devices are subject to basic controls, e.g., good
 6 ~ ~ manufacturing processes, which the FDA finds "sufficient to provide reasonable
 7 ~ ~ assurance ofthe safety and effectiveness ofthe device." 21 U.S.C. §360c(a)(1)(A).
 8         53.    Class II devices, such as thermometers and powered wheelchairs, pose a
 9 ~ ~ moderate risk to patients and thus require special controls to provide reasonable
10 assurance of safety and effectiveness. 21 U.S.C. §360c(a)(1)(B).
11         54.   Class III devices are those for which general and/or specific controls are
12 I ~ not sufficient to provide reasonable assurance of safe and effective use. Such devices
13 ~ generally include life-supporting and life-sustaining devices which present a high risk
14 ~ of injury or illness to the patient, such as pacemakers and heart valves. 21 U.S.C.
15 ~ §360c(a)(1)(C). Pipelines are Class III devices.
16         55.   Prior to promoting or marketing a Class III device, the FDA requires
17 companies to complete the "premarket approval process." Premarket approval
18 ("PMA")is the most stringent level of device regulation required by FDA. The PMA
19 process requires a manufacturer to furnish detailed information about the device's
20 clinical testing, design, manufacturing, packaging, and labeling sufficient to
21 reasonably assure the FDA that the device is safe and effective. 21 C.F.R. §814 et seq.
22 The PMA process is designed "[t]o ensure the disapproval ofPMA's for devices that
23 have not been shown to be safe and effective or that do not otherwise meet the
24 statutory criteria for approval." 21 C.F.R. §814.2. At the conclusion of the PMA
25 process, the FDA issues to the PMA applicant an "approvable letter" or "not
26 approvable letter" for the medical device. 21 C.F.R. §814.44(e),(~.
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  1         56.       The FDA does not approve a medical device for treatment of sickness
 2 ~ ~ generally. Instead, a device is approved for treatment of a specific condition, for
 3 ~ ~ which the device has been tested in patients. The specific approved use for the device
 4 ~ ~ is called the "indication." Notwithstanding the receipt of an approvable letter, a device
 5 ~ ~ manufacturer is not permitted to promote or market a device off-label. 21 U.S.C.
 6 ~ ~ §331(a),(b).
 7         57.    "Off-label" refers to the use of an approved medical device for any
 8 ~ ~ purpose, or in any manner, other than what is described in the device's labeling. For
 9 example, off-label use includes using a Pipeline to treat a small aneurysm when the
10 Pipeline's label only indicates approval for use in treating larger aneurysms.
11         58.    While the FDA is responsible for ensuring that a medical device is safe
12 and effective for the specific approved indication, it does not regulate the practice of
13 medicine. Once a device is approved for a use, the FDA does not prohibit doctors
14 from using the device in ways that are different than those approved by the FDA. The
15 idea is that the doctor can be trusted to exercise independent judgment(free from any
16 conflicts of interest related to the commercial success of a medical device) to
17 determine the medically appropriate use of a device that has been proven to have safe
18 uses.
19         59.    Although doctors can use approved devices in off-label ways, the law
20 prohibits device manufacturers from marketing or promoting a device for a use that
21 the FDA has not approved. Specifically, a manufacturer cannot introduce a device into
22 interstate commerce with an intent that it be used for an off-label purpose, and a
23 manufacturer illegally "misbrands" a device if the device's labeling (which includes
24 all marketing and promotional materials relating to the device) describes intended uses
25 for the device that have not been approved by the FDA. 21 U.S.C. §§331, 352. Device
26 manufacturers are not permitted to promote their devices off-label because in doing so
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  1 ~~ they could favor their own economic interests over patients' interest and taint the
  2 medical judgment of doctors.
  3        60.    The off-label regulatory laws protect patients and consumers by ensuring
 4 that companies do not promote devices for uses other than those found to be safe and
 5 ~ ~ effective by an independent, scientific governmental body, i.e., the FDA.
 6         B.     Reimbursement Under Federal Health Care Programs
 7         61.    Whether a device is FDA-approved for a use will largely determine
 8 ~ ~ whether a purchase of the device will be reimbursed under Medicaid, Medicare, and
 9 other federal and state health care programs.
10         62.    Where a company promotes a device for off-label use or with kickbacks,
1 1 ~ related sales of the device are not eligible for reimbursement by Medicaid, Medicare,
12 or other federal and state health care programs.
13         63.    Therefore, during the period of the Defendants' kickback scheme and off-
14 label promotional campaign, any related claims for reimbursement for Pipelines from
15 Medicaid, Medicare, or other federal or state health care programs constituted false
16 claims. The act of seeking reimbursement for such ineligible uses of Pipelines itself
17 constitutes a false claim. In addition, the Defendants, together with hospitals and
18 physicians involved in the off-label and kickback-induced use ofPipelines, expressly
19 certified compliance with applicable laws on numerous provider agreements and claim
20 ~ forms submitted to Medicare, Medicaid, and other federal and state health care
21 ~ programs. Such provider agreements and claim forms constitute false records in
22 support offalse claims.
23               1.     The Billing Process for Medical Devices
24        64.    The decision of whether to perform an operation using a medical device
25 ~ is made by a doctor in consultation with a patient. In general, once an operation using
26 a medical device has scheduled, the hospital where the operation will be performed
27 purchases the device from its manufacturer. Following an operation the doctor bills
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  1 ~~ government health care programs for the doctor's provision of services, and the
 2 ~ ~ hospital bills these programs for costs including reimbursement for the medical
 3 II device.
 4         65.    Under Medicare, hospitals submit claims for services delivered to
 5 Medicare beneficiaries on Form CMS-1450 (for interim reimbursements with respect
 6 to individual beneficiaries) and Form CMS-2552, also known as a Hospital Cost
 7 Report(the hospital's final claim for payment from Medicare for the period covered
 8 by the report). Doctors obtain payment from Medicare for their services by submitting
 9 Form CMS-1500.
10         66.    Although doctors determine which medical devices will be purchased,
1 1 ~ they have little or no reason to consider a device's cost, because the device will be
12 purchased by a hospital. Furthermore, the hospital has little reason to prevent
13 excessive device costs, where these costs will be reimbursed by government health
14 care programs.
15         67.   Because doctors effectively make purchasing decisions, device
16 ~ manufacturers are motivated to persuade them to use their products. Because
17 physicians often might not be sensitive to the costs of devices they use (and hospitals
18 also lack incentives to act as a check on these costs), device manufacturers can find it
19 advantageous to increase sales by sharing a device's sale proceeds with the treating
20 doctors in the form of kickback payments.
21         68.   Similarly, because of physicians' control over purchasing decisions,
22 device manufacturers may attempt to increase sales by directing off-label marketing at
23 physicians.
24         69.   Where a device manufacturer attempts to persuade physicians to use its
25 products through kickbacks or off-label marketing, the resulting sales of the device are
26 not eligible for reimbursement under government health care programs.
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  1              2.     The Medicare Program
 2         70.    Medicare is a public assistance program providing for payment of
 3 medical expenses for patients with certain disabilities and those aged 65 years old and
 4 older. The Medicare program subsidizes certain purchases of medical devices.
 5         71.   Medicare is funded and administered by the federal government. Federal
 6 statutes and regulations restrict the medical devices and their uses that the federal
 7 government will pay for through Medicare. Under Medicare,"no payment may be
 8 made" for a device that is not "reasonable and necessary" for the treatment of illness.
 9 42 U.S.C. § 1395y(a)(1)(A). Similarly,"Medicare payment is not made for medical
10 and hospital services that are related to the use of a device that is not covered because
1 1 CMS determines the device is not `reasonable' and necessary'." 42 C.F.R. §
12 405.207(a). The use of devices tainted by kickbacks or off-label marketing in violation
13 ofthe FDCA is not "reasonable and necessary."
14         72.   During the time relevant to this Complaint, the off-label uses of Pipelines
15 promoted by the Defendants were not eligible for reimbursement under Medicare, and
16 ~ neither were Pipeline uses tainted by the Defendants' kickback scheme.
17               3.     The Medicaid Program
18         73.   Medicaid is a public assistance program providing for payment of
19 medical expenses for low-income patients. The Medicaid program subsidizes certain
20 ~ purchases of medical devices.
21        74.    Funding for Medicaid is shared by the federal government and state
22 ~ governments. Although Medicaid is administered on a state-by-state basis, the state
23 programs adhere to federal guidelines. Federal statutes and regulations restrict the
24 medical devices and their uses that the federal government will pay for through its
25 funding of state Medicaid programs, in a manner like the restriction of payments
26 under Medicare.
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  1        75.    During the period relevant to this Complaint, the off-label uses of
 2 Pipelines promoted by the Defendants were not eligible for reimbursement under
 3 Medicaid, and neither were Pipeline uses tainted by the Defendants' kickback scheme.
 4               4.     Other Federal Health Care Programs
 5         76.    Besides Medicaid and Medicare, the federal government reimburses a
 6 portion of the cost of medical devices under several other federal health care
 7 programs, including but not limited to TRICARE, CHAMPVA and the Federal
 8 Employees Health Benefit Program.
 9         77.    TRICARE, administered by the United States Department of Defense, is
10 a health care program for individuals and dependents affiliated with the armed forces.
1 1 CHAMPVA,administered by the United States Department of Veterans Affairs, is a
12 health care program for the families of veterans with 100 percent service-connected
13 disability. The Federal Employee Health Benefit Program, administered by the United
14 States Office ofPersonnel Management, provides health insurance for federal
15 employees and retirees. Coverage of off-label device use under these programs is
16~ similar to coverage under the Medicare and Medicaid programs. See, e.g., TRICARE
17 Policy Manua16010.60-M, Chapter 8, Section 5.1 (April 1, 2015); CHAMPVA Policy
18 Manual, Chapter 2, Section 17.8(May 16, 2011).
19         78.   During the period relevant to this Complaint, the off-label uses of
20 Pipelines promoted by the Defendants did not qualify for reimbursement under any of
21 the federal health care programs, and neither did Pipeline uses tainted by the
22 Defendants' kickback scheme.
23         C.    The Anti-Kickback Statute
24               1.    In General
25         79.   The federal health care Anti-Kickback statute, 42 U.S.C. §1320a-7b(b),
26 arose out of Congressional concern that payoffs to those who can influence health care
27 decisions will result in goods and services furnished to patients that are medically
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  1 ~~ unnecessary, of poor quality, or harmful to a vulnerable patient population. To protect
 2 ~ ~ the integrity of federal health care programs from these difficult to detect harms,
 3 ~ ~ Congress enacted a prohibition against the payment of kickbacks in any form,
 4 ~ ~ regardless of whether the kickback gives rise to overutilization or poor quality of care.
 5            80.   The Anti-Kickback statute prohibits any person or entity from making or
 6 ~ ~ accepting payment to induce or reward any person for referring, recommending or
 7 ~ ~ arranging for the purchase of any item for which payment may be made under a
 8 federally-funded health care program. 42 U.S.C. §1320a-7b(b). Under this statute,
 9 companies may not offer or pay(and doctors may not accept) any remuneration, in
10 cash or kind, directly or indirectly, to induce doctors or others to order or recommend
1 1 medical devices that maybe paid for by Medicaid, Medicare, or other federal health
12 care programs.
13            81.   A claim for payment from a government health care program that
14 ~ includes items or services resulting from a violation of the Anti-Kickback statute
15 constitutes a false or fraudulent claim for purposes of the FCA.42 U.S.C. §1320a-
16 ~ ~b~g)~
17            82.   The law not only prohibits outright bribes and rebate schemes, but also
18 ~ prohibits any payment by a company to a doctor which has as one of its purposes
19 ~ inducement of the physician to increase sales of the company's medical devices. Such
20 ~ payments are viewed as tainting the doctor's judgment.
21            83.   Examples of activities prohibited by the Anti-Kickback statute include
22 payments for sham consulting services, illusory training sessions, sham research and
23 educational grants, sham speaking fees, lavish entertainment, travel and lodging
24 expenses, expensive meals and wine, and other gifts and discounts. These activities
25 are especially suspect if the medical device supplier selects the physician based on its
26 belief that the physician is likely to prescribe the company's products rather than
27 based on the doctor's professional qualifications or services rendered to the company.
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  1 The statute is designed to deter healthcare providers from using such personal benefits
 2 and enticements as a means of tainting the medical judgment of physicians.
 3         84.    Concern about improper marketing practices like those alleged in this
 4 Complaint prompted the Inspector General ofthe Department of Health and Human
 5 Services to issue a Special Fraud Alert concerning marketing practices that violated
 6 the Anti-Kickback statute. Special Fraud Alert: Prescription Drug Marketing
 7 Schemes, 59 Fed. Reg. 65,376(Dec. 19, 1994). Among the improper practices cited
 8 by the Inspector General are companies' payments to doctors where, as here, the
 9 doctor had offered no services of benefit to the company but the payment was, or
10 appeared to have been, based on the volume of business the doctor could generate for
1 1 the company.
12                2.    Safe Harbors
13         85.    The Anti-Kickback statue provides certain "safe harbors" to exclude
14 certain conduct from its ambit so long as the parties involved have strictly complied
15 with all the conditions of the safe harbor. Parties to an arrangement, however, cannot
16 obtain safe harbor protection by entering a sham contract that appears on paper to
17 meet all of the safe harbor requirements, but does not reflect the actual arrangement
18 between the parties.
19         86.    There is a safe harbor for personal service arrangements which requires,
20 among other things, that:
21         The aggregate compensation paid to the agent over the term of the
22         agreement is set in advance, is consistent with fair market value in arms-
23         length transactions and is not determined in a manner that takes into
24         account the volume or value of any referrals or business between the
25         parties for which payment may be made in whole or in part under
26         Medicare, Medicaid or other Federal health care programs.
27 ~~ 42 C.F.R. § 1001.952(d)(5). This safe harbor also requires that:


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 1          The aggregate services contracted for do not exceed those which are
 2          reasonably necessary to accomplish the commercially reasonable
 3          business purpose ofthe services.
 4 ~ ~ 42 C.F.R. § 1001.952(d)(7).
 5          87.   The Defendants do not meet these safe harbor requirements because they
 6 II offer incentives to doctors based on the volume or value of business the doctor
 7 ~ ~ generates or that they expect the doctor to generate. The Defendants do not pay
 8 physicians consistent with fair market value in arms' length transactions, nor do they
 9 engage physicians for commercially reasonable business purposes. Rather, the
10 Defendants engage physicians based on their own sales targets.
11                3.      Compliance With The Anti-Kickback Statute Is
                          Required Under Government Health Care Programs
12
           88.    Compliance with the Anti-Kickback statute is a precondition to
13
     participation as a health care provider under the Medicaid, Medicare, and other federal
14
     health care programs.
15
           89.    With Medicaid, for example, each physician that participates in the
16
     program must sign a provider agreement with his or her state. Although there are
17
     variations in the agreements among the states, the agreement typically requires the
18
     prospective Medicaid provider to agree that he or she will comply with all Medicaid
19
     requirements, which include the anti-kickback provisions of the law. In numerous
20
     states, the Medicaid claim form itself contains a certification by the provider that the
21
     provider has complied with all aspects of the Medicaid program, including compliance
22
     with federal laws.
23
           90.    With Medicare, hospitals and doctors sign Provider Agreements with the
24
     Center for Medicare and Medicaid Services("CMS")to establish their eligibility to
25
     seek reimbursement from Medicare. As part of that agreement, without which the
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 1 ~~ hospitals and physicians may not seek reimbursement from federal health care
 2 ~ ~ programs, the provider must sign the following certification:
 3         I agree to abide by the Medicare laws, regulations and program
 4         instructions that apply to [this provider]. The Medicare laws, regulations,
 5         and program instructions are available through the [Medicare] contractor.
 6         I understand that payment of a claim by Medicare is conditioned upon the
 7         claim and the underlying transaction complying with such laws,
 8         regulations, and program instructions (including, but not limited to, the
 9         Federal anti-kickback statute and the Stark law), and on the [provider's]
10        compliance with all applicable conditions of participation in Medicare.
1 1 Medicare Enrollment Application Form CMS-855A; Form CMS-855I.
12        91.       When a hospital or physician submits a claim for payment under
13 Medicare, it does so subject to and under the terms of its certification to the United
14 States that the services for which payment is sought were delivered in accordance with
15 ~ federal law, to include without limitation the Anti-Kickback statue.
16        92.       Every Hospital Cost Report also contains a Certification which must be
17 signed by the chief administrator of the provider or a responsible designee of the
18 administrator.
19        93.       The Form CMS-2552 Hospital Cost Report certification page includes
20 the following statement:
21        Misrepresentation or falsification of any information contained in this
22        cost report may be punishable by criminal, civil and administrative
23        action, fine and/or imprisonment under federal law. Furthermore, if
24        services identified in this report provided or procured through the
25        payment directly or indirectly of a kickback or where otherwise illegal,
26        criminal, civil and administrative action, fines and/or imprisonment may
27        result.
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                                                i~!
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  1 The cost-report signatory is also required to certify that:
 2         To the best of my knowledge and belief, this report and statement are
 3         true, correct, complete and prepared from the books and records of the
 4         provider in accordance with applicable instructions, except as noted. I
 5         further certify that I am familiar with the laws and regulations regarding
 6         the provision of health care services, and that the services identified in
 7         this cost report were provided in compliance with such laws and
 8         regulations.
 9         94.    By signing Form CMS-2552, a hospital administrator is required to and
10 ~ does certify that its cost report (i) is truthful, i.e., that the cost information contained in
1 1 ~ the report is true and accurate;(ii) is correct, i.e., that it is entitled to reimbursement
12 ~ for the reported costs in accordance with applicable instructions; (iii) is complete, i.e.,
13 that the cost report is based upon all information known to the provider; and (iv) does
14 not include any services that resulted from an illegal kickback, or from any other
15 violation of health care laws and regulations.
16         95.    Physicians and hospitals that participate in a federal health care program
17 generally must certify (via provider agreements and claim forms) that they have
18 complied with applicable federal rules and regulations, including the Anti-Kickback
19 statute.
20         96.    Because of the systematic payment of kickbacks to physicians made with
21 the intent and effect of inducing them to use Pipelines, the Defendants caused
22 physicians and hospitals to submit claims in violation of conditions of payment and
23 claims with false certifications to the United States. Claims tainted by the Defendants'
24 kickback scheme are false claims.
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 1                            VL GENERAL ALLEGATIONS
 2        A.     Dr. Chao Learned Of Defendants' Illegal Conduct Through His Work
                 As a Doctor,From The Defendants' Sales Staff and Through His
 3
                 Work For the FDA
 4              Dr. Chao learned ofthe Defendants' practices from the Defendants'
          97.
 5 officers, clinical training staff, sales personnel and proctors while working as a
 6 physician. He gained further insight into Defendants' practices while working as an
 7 advisor to the FDA's Office of Device Evaluation, and by analyzing documents
 8 submitted to the FDA by the Defendants.
 9        98.   Dr. Chao's interactions with the Defendants' officers, clinical training
10 staff, sales personnel and proctors include, among others:
11               (a) A Pipeline training meeting attended by Dr. Chao in 2011 at the
12         Green Valley Ranch luxury resort-spa-casino near Las Vegas, Nevada, also
13        attended by Doctors Edoardo Boccardi and Tibor Becske, two of the
14        Defendants' speakers and proctors.
15              (b)     A Pipeline operation attended by Dr. Chao in 2015 at Kaiser
16        Permanente Los Angeles Medical Center, also attended by Dr. Christopher
17        Moran, one of the Defendants' proctors and a Chief Medical Officer of the
18        Defendants.
19              (c)     Discussions between Dr. Chao and Annie Joseph, a member of the
20        Defendants' sales staff whose duties included managing aspects of the proctor
21        program from 2011 to 2014.
22
                (d)     Discussions with Jason Roberts, the Southern California regional
23        manager ofthe Defendants' sales operations, including a discussion about
24        arranging a Pipeline operation at Kaiser Foundation Hospital in Fontana,
25       California in 2014.
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 1              (e)    Discussions with Justin Vance, a member of the Defendants' sales
 2         staff who worked under the supervision of Jason Roberts, including a
 3         discussion about arranging a Pipeline operation at Kaiser Foundation Hospital
 4         in Fontana, California in 2014.
 5        99.    Dr. Chao's review of relevant documents while working at the FDA
 6 included the following, among others:
 7              (a)    Medtronic's response to the FDA's information request letter
 8        regarding the PFED, dated February 2, 2016.
 9              (b)    Medtronic's response to the FDA's request for information
10        regarding aneurysm occlusion rates, dated November 9, 2016.
11              (c)    Pipeline training manuals created and distributed by the
12        Defendants since 2015.
13        100. Prior to filing this Complaint, Dr. Chao had not seen any public
14 disclosure ofthe allegations raised herein and has no basis to believe there has been
15 any. Dr. Chao also is the original source of this Complaint's allegations about
16 Defendants' false claims that come from his personal knowledge and interactions and
17 his own research and analysis.
18        101. During his interactions with the Defendants' employees and agents, and
19 during his work for the FDA,Dr. Chao learned of the following practices:
20              (a)    The Defendants offered physicians improper financial inducements
21        to use Pipelines, regardless of whether their use was on- or off-label. For
22        example, through the Defendants' proctor program, physicians who created
23        sales of Pipelines and promoted use of Pipelines to other medical professionals
24        received cash payments of up to thousands of dollars per day and in some cases
25        totaling over a hundred thousand dollars per year.
26
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 1             (b)    As another form ofimproper financial inducement, the Defendants
 2       used an ostensible data collection program to financially reward physicians for
 3       using Pipelines regardless of whether their use was on- or off-label.
 4             (c)    The Defendants' payments to physicians under the proctor
 5       program and the data collection kickback program were disproportionate to the
 6       value of the services performed by the physicians, and represented payment for
 7       work never actually performed. The Defendants' primary purpose for such
 8       payments was to increase Pipeline sales.
 9             (d)    The Defendants have hired companies controlled by a proctor to
10       provide ostensibly independent laboratory services for a clinical trial that seeks
11       an expanded indication for Pipelines from the FDA,and the large payments
12       from the Defendants to this proctor and his companies threaten to bias the
13       study's outcome and the FDA's decision making process.
14            (e)     Although the Defendants knew they were prohibited from
15       promoting Pipelines for off-label uses, the Defendants were aware that a large
16       percentage ofPipeline sales came from off-label uses, and the Defendants
17       actively sought to encourage such off-label sales.
18            (~      The Defendants paid for and otherwise encouraged publication of a
19       study promoting off-label use, the IntrePED study of data generated by the
20       Defendants' data collection kickback scheme.
21            (g)     The Defendants' employees and proctor physicians promoted off-
22       label Pipeline use during in-person meetings with other physicians, including
23       during meetings with Dr. Chao.
24            (h)     The Defendants' knew that encouraging off-label use of Pipelines
25       through the proctor program constituted illegal off-label marketing, so the
26       Defendants actively sought to conceal the off-label nature of proctored Pipeline
27       cases, including by falsifying records.
28
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  1              (i)    The Defendants' training manuals and marketing materials contain
 2         information about off-label uses of Pipelines and actively promote such uses,
 3         and these materials are given to doctors by the Defendants' sales
 4         representatives.
 5              (j)     The Defendants manufacture and sell Pipelines in various sizes,
 6         including sizes so small that the Defendants know they would overwhelmingly
 7         be used in off-label applications, in small-diameter arteries where Pipeline use
 8         presents elevated health risks to patients.
 9               (k)    The Defendants promote the simultaneous use ofPipelines and
10         their Axium Coils to treat the same aneurysm, which is an off-label use, and
11         which presents elevated health risks to patients.
12         B.     Pipelines Are a Key Driver of The Defendants' Profits
13         102. Pipelines are a valuable business line that is important to the Defendants'
14 growth. For example, Defendant ev3's Form 10-Q for the quarter ended April 4, 2010
15 reveals that ev3 purchased Chestnut(the original developer of the PED)for $79.4
16 million up front, and a contingent payment of up to $75 million payable upon the
17 FDA's premarket approval of the PED. This additional $75 million was paid in full
18 during 2011.
19         103. Covidien's Form 10-K for the year ended September 28, 2012 calls the
20 ~ PED a "key product" within Covidien's Medical Devices business segment. An
21 exhibit to a Covidien current report on Form 8-K dated July 11, 2014 notes an
22 increase of $179 million (or 13%)in net sales for Covidien's Vascular Therapies
23 division in fiscal year 2012, which was "primarily driven by increased sales of
24 Neurovascular products, namely stents and flow diversion products." The reference to
25 flow diversion products means Pipelines.
26         104. In the fiscal quarter ended Apri129, 2015 the Defendants' Pipeline sales
27 ~ were $18.2 million ($73.1 million on an annualized basis), and in the fiscal quarter
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                                               29
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  1 ~~ ended Apri129, 2016 the Defendants' Pipeline sales were $24.7 million ($98.9 million
 2 ~ ~ on an annualized basis). This represents a 35%year on year increase in sales. These
 3 ~ ~ are the most recent sales figures available to Dr. Chao.
 4         C.     The Defendants' Robust Sales Operations and Lackadaisical
                  Compliance Efforts
 5
            105. The Defendants have highly developed sales operations, in which sales
 6
     staff are offered generous incentive compensation. The Defendants' have placed their
 7
     compliance functions at a lower priority. The Defendants' sales staff even oversee
 8
     ostensibly "clinical" or "educational" aspects of the business, such as the proctor
 9
     kickback program.
10
                  1.     The Defendants' Highly Compensated Sales Staff
11
           106. The Neurovascular division of Defendant Medtronic, which sells
12
     Pipelines among other products, employs roughly 150 sales personnel. John Zehren
13
     serves as Vice President of Sales for North America. Reporting to Zehren are Chris
14
     Weaver, who manages Eastern U.S. sales, and Doug Jones, who manages Western
15
     U.S. sales. Reporting to Weaver and Jones are approximately ten regional managers, a
16
     Pipeline clinical team, and a stroke products unit. Each regional manager oversees
17
     roughly ten sales employees, known as territory managers.
18
           107. Dr. Chao primarily dealt with Medtronic's Southern California sales
19
     team. Medtronic's Southern California region includes Los Angeles, San Diego, and
20
     Orange County. The regional manager for Southern California is Jason Roberts.
21
     Roberts oversees seven sales staff, including Justin Vance and Annie Joseph, who are
22
     discussed herein. Dr. Chao also dealt with Medtronic's Pipeline clinical team which is
23
     led by Joel Harris, who manages six staff members.'
24
25
26
        'Such "clinical" staff include Medtronic employees Jane Anderson, Robert
27 Stoeckmann, Joey Egidio, Rene Gomez, Stephanie Simmers, and Skip McCann.


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  1        108. Medtronic's sales staff are highly compensated, with most of their
 2 ~ ~ compensation being incentive-based. Medtronic sets sales goals for its staff, and if
 3 ~ ~ those goals are met the staff can expect to earn their "target" compensation, or more.
 4 ~ ~ For Medtronic's fiscal year ended April 29, 2016 target compensation for territory
 5 ~ ~ managers was $295,000, and more than forty territory managers achieved their targets.
 6 ~ ~ For that year, target compensation for regional managers was $325,000. Salary makes
 7 ~ ~ up approximately one-third of target compensation, with the bulk of target
 8 compensation consisting of incentive pay for achieving aggressive sales goals.
 9         109. Employees who exceeded target sales were rewarded handsomely. For
10 ~ ~ example, in Medtronic's fiscal year ended Apri129, 2016 Jason Roberts earned
1 1 $685,000.
12         1 10. Medtronic's incentive compensation for its sales employees took several
13 different forms to encourage sales staff to meet monthly, quarterly, and annual targets.
14 ~ In addition, incentive compensation was based on and designed to encourage sales of
15 products that Medtronic deemed important and sought to promote. For example, sales
16.~ personnel could obtain bonuses for selling certain amounts of"CORE" products,
17 including Pipelines.
18         1 11. Medtronic's generous compensation and focus on incentive pay
19 predictably led sales personnel, by design, to aggressively pursue sales by both legal
20 ~ and illegal means. In this environment, legal compliance was at best an afterthought,
21 and at worst an impediment to increasing sales.
22               2.    The Defendants' Lax Compliance
23         1 12. Medtronic has an Office of Ethics and Compliance with more than a
24 dozen employees. Two of Medtronic's ethics personnel, Kim Ford and Stephanie
25 Lavender, work with the Neurovascular division and have job descriptions that
26 include "Off Label Risk Mitigation." The work of this small group has minimal, if
27 any, impact on Medtronic's day-to-day operations. It has failed to eliminate, or even
28
                                               31
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  1 ~~ effectively reduce, Medtronic's wide-ranging and expensive efforts to illegally
 2 ~ ~ promote Pipelines.
 3         1 13. Medtronic sales personnel are required to complete online training
 4 ~ ~ relating to off-label promotion. If they do not complete such training by the required
 5 ~ ~ deadline, they receive email notifications that their training is overdue, but there
 6 ~ ~ apparently are no more serious consequences to failing to complete this training. For
 7 ~ ~ example, at the end of Medtronic's 2016 fiscal year Jason Roberts was overdue to
 8 complete such off-label training. Nonetheless, he received more than $180,000 in
 9 incentive pay relating to Medtronic's fourth quarter of 2016.
10         1 14. Medtronic's compliance failures are not limited to the payment of
1 1 kickbacks and off-label marketing, rather a lack of concern for compliance appears to
12 be a pervasive feature of Medtronic's sales operation. Multiple times, Medtronic sales
13 ~ personnel were reprimanded by hospitals for failing to follow hospital policies while
14 attending Pipeline operations. In one instance, Sunrise Hospital and Medical Center in
15 ~ Las Vegas suspended access privileges for three months for Medtronic territory
16 manager David King stemming from his repeated failures to obtain necessary
17 ~ permissions to attend operations. On the same day this suspension was announced,
18 Medtronic sales managers, apparently unconcerned with these serious violations of
19 ~ hospital policies, decided to have a new employee shadow King for training.
20               3.     The Defendants' Sales Department Oversees the Proctor
                        Program
21
22         1 15. Although the proctor program is ostensibly educational in nature, this

23 program is primarily managed by the Defendants' sales personnel, not by the
24 Defendants' clinical education specialists.
25         1 16. Joel Harris, the Defendants' National Sales Manager for Pipelines,

26 managed many components of the proctor program. Although the proctor program
27 was nominally managed by Fred Gunderman, the Defendants' Director of Physician
28
                                                 32
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  1 ~~ and Clinical Education, the Defendants' "clinical specialists" were in fact sales
 2 ~ ~ personnel who reported to Joel Harris.
 3         1 17. All sales representatives in Medtronic's Neurovascular division receive
 4 ~~ weekly emails notifying them of Pipeline proctoring events for the upcoming week.
 5 ~ ~ These emails list the date, the trainee physician, physician proctor, hospital, and sales
 6 ~ ~ representative, that are associated with each event. These emails also admonish sales
 7 ~ ~ representatives to turn in timely reports regarding Pipeline proctoring events for which
 8 they are responsible.
 9         1 18. A document created by the Defendants for use by their clinical sales
10 ~ personnel to track Pipeline promotional activities (reproduced in Exhibit 5)shows that
1 1 such "clinical" staff and the proctor program were viewed by the Defendants as part
12 their sales operation. This document, titled "2017 Pipeline Clinical Specialist Strategic
13 Account Activities — [Plan of Action] Worksheet," lists various promotional tasks and
14 the corresponding amount of"case coverage credit" that the Defendants' employees
15 would receive for each task. Among the activities for which sales personnel receive
16 credit toward their sales activity quotas is "Schedule a Proctor to visit for Grand
17 Rounds." The Defendants' sales personnel are instructed to submit these worksheets
18 to various employees of the Defendants, including local and regional sales managers,
19 as well as "Pipe Mgr/Sales Ops." This oversight of proctors' activities by the
20 Defendants' sales operations personnel demonstrates that the Defendants viewed the
21 proctor program as a part of their sales efforts.
22            VII. THE DEFENDANTS'ILLEGAL HICKBACK SCHEME
23         1 19. The Defendants' illegal kickback scheme took two main forms. First, the
24 Defendants operate the proctor program under which they pay certain key physicians
25 hundreds of thousands of dollars annually to increase Pipeline sales. Second, the
26 Defendants operated a purported data collection program, the true purpose of which
27 was to offer any physician who used a Pipeline between $1,000 and $1,500.
28
                                                33
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 1           120. The Defendants knew that they were operating an illegal kickback
 2 ~ ~ scheme, and they knew that if this scheme was disclosed to government health care
 3 ~ ~ programs, those programs would refuse to pay for Pipelines tainted by kickback
 4 payments. Accordingly, the Defendants conceal their kickback scheme as payment to
 5 physicians for services, in a successful effort to deceive government health care
 6 programs and receive substantial revenue from kickback-tainted, on-label and off-
 7 label procedures.
 8           A.    The Proctor Program: A Vehicle To Financially Reward Physicians
                   For Using Pipelines
 9
             121. The Defendants offer physicians improper financial inducements to use
10
      Pipelines through the Defendants' proctor program. In this program physicians who
11
      create sales of Pipelines and promote use of Pipelines to other medical professionals
12
      receive cash payments ofthousands of dollars per day and in some cases over a
13
      hundred thousand dollars per year. These payments are disguised as compensation for
14
      services performed by the proctor physicians (such as overseeing Pipeline operations,
15
      or performing Pipeline-related research), but are solely based on the proctors' ability
16
      to generate Pipeline sales.
17.
                   1.    Basic Structure of the Proctor Program
18
             122. The Defendants' proctor program began in 2011 when the PED was first
19
      marketed in the United States. There are approximately fifty-five doctors in the
20
      proctor program.
21
            123. Exhibit 1 contains a list of likely proctors based on CMS Open Payments
22
      Data. Each of these fifty-eight doctors received more than $10,000 worth of payments
23
      related to "pipelines" or "flow diversion" from the Defendants during 2013-2015.
24
      These fifty-eight doctors received a total of $5.2 million of such Pipeline-related
25
     ~ payments from the Defendants over this period. Of these doctors, twenty-two received ~
26
27
28
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  1 ~~ more than $100,000 of such Pipeline-related payments from the Defendants in 2013-
 2 112015.
 3           124. Dr. Chao learned during his work as a practicing physician that many of
 4 ~ ~ the doctors listed in Exhibit 1 are proctors for the Defendants, including Dr. Philipp
 5 ~ ~ Taussky, Dr. John Gaughen, Dr. Alexander Coon, Dr. Britton Keith Woodward and
 6 Dr. Christopher Moran.
 7           125. As an example of payments made to a proctor, Exhibit 2 contains a
 8 ~ ~ detailed list ofPipeline-related payments made by the Defendants during 2013-2015
 9 to one proctor, Dr. Moran. These 340 separate payments total more than $200,000.
10 The payments occur frequently, and many are for thousands of dollars.
11           126. In addition to substantial cash payments, the Defendants compensated
12 proctors by paying for expensive mini-vacations. For example, the Defendants paid
13 for multiple physicians to attend a Pipeline "training meeting" in 2011 at the Green
14 Valley Ranch, a luxury resort-spa-casino near Las Vegas, Nevada. Likewise, as set
15 forth in E~ibit 2, Dr. Moran appears to have traveled frequently for the Defendants to
16 posh vacation destinations throughout the United States such as Miami and San
17 Francisco, and to posh international destinations such as Buenos Aires, Argentina;
18 Nice, France; and Madrid, Spain.2 At each of these international destinations the
19 Defendants provided free travel and lodging for Dr. Moran. There was no reason to
20 have "training" sessions at posh luxury resorts other than to use the "training" as a
21
22
            2 CMS' data set lists the city, state, and country of travel associated with a
23   particular payment. For the Defendants' payments to Dr. Moran listing Buenos Aires
     as the city, the state listed is California and the country listed is the U.S., however this
24
     appears to be an error as there is no city of Buenos Aires in California. Presumably
25   this was a data entry error and the payment relates to travel in Buenos Aires,
26   Argentina. Similarly, payments relating to the city Madrid also list locations of
     California and the United States, though there is no locale known as Madrid in
27   California.
28
                                                 35
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  1 ~~ pretext to provide free mini-vacations to reward those doctors that helped Defendants
 2 ~ ~ generate tens of millions of dollars in Pipeline sales.
 3         127. Because of the cash payments, travel, and other kickbacks received by
 4 ~ ~ proctors from the Defendants, physicians had strong incentives to become proctors.
 5 ~ ~ For a doctor to become a proctor, the Defendants required the doctor to perform at
 6 ~~ least ten operations in which at least one Pipeline was used to treat a patient's
 7 ~ ~ aneurysm. On average 1.6 Pipelines are used per patient. Therefore, in the process of
 8 becoming a proctor a doctor would cause the purchase of approximately sixteen
 9 ~ Pipelines. At an approximate cost per Pipeline of $14,000, this would result in about
10 ~ $224,000 worth of sales for the Defendants.
11         128. Once a doctor meets the Defendants' ten-operation requirement to
12. become a proctor, that doctor becomes eligible to receive lucrative cash payments
13 from the Defendants based on the doctor's work promoting Pipelines. For example,
14 for each operation using one or more Pipelines overseen by a proctor, the proctor
15 received approximately $4,000 to $5,000 from the Defendants (under sham consulting
16 and services arrangements), or roughly one-third of the Defendants' revenue from the
17 sale of each Pipeline. This financial arrangement encouraged doctors to perform
18 operations using Pipelines so that they could become proctors and later receive
19 payments for supervising other doctors using Pipelines, and for undertaking other
20 activities to encourage Pipeline sales. Thus, Defendants induced or effectively bribed
21 these doctors through this very generous kickback system, and thereby tainted the
22 doctors'judgment.
23         129. Besides payments for overseeing operations using Pipelines, the
24 ~ Defendants made payments to proctors based on other tasks undertaken to promote
25 Pipelines. Under the Defendants' policies, proctors received payments for promotional
26 activities at approximately $400 to $500 per hour worked, or roughly $3,200 to
27
28
                                                 36
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  1 ~~ $4,000 for an eight-hour day. This hourly rate varied based on the experience of the
 2 ~ ~ proctor, with key physicians being paid up to $500 per hour.
 3          130. In this way, the proctor program operated much like a pyramid scheme.
 4 ~ ~ To become eligible for payments as a proctor, physicians had to first generate
 5 ~ ~ substantial revenue for the Defendants. Once a doctor generated enough Pipeline
 6 ~ ~ sales, he could share in the scheme's profits, in part through encouraging other doctors
 7 ~ ~ to use Pipelines.
 8          131. The Defendants used such illegal kickbacks to maximize proctors'
 9 ~ compensation, and proctors as would be expected took advantage of Defendants'
10 largesse. For example, not wanting to lose the opportunity to make as much money as
1 1 possible through this lucrative proctoring arrangement, Dr. Moran regularly called the
12 Defendants' sales employee, Annie Joseph, seeking proctoring assignments, and he
13 would become angry if told that no assignments were available. In response, the
14 Defendants increased Dr. Moran's proctoring assignments such that between 2013 and
15 ~ 2015, he received more than $200,000 ofPipeline related payments, which was
16 ~ mostly due to his participation in the proctor program.
17          132. Similarly, to benefit Dr. Alexander Coon, a proctor who generated
18 substantial Pipeline sales for the Defendants (and received more than $280,000 in
19 Pipeline related payments from them between 2013 and 2015), Defendants paid for
20 Dr. Coon to travel from his place of work in Maryland to fly cross country and proctor
21 Pipeline operations at the University of California, Irvine health system. This made no
22 practical or economic sense, and caused needless cost, but Defendants agreed to such
23 arrangements, and even encouraged them, to accommodate Dr. Coon's desire to
24 receive more proctoring compensation. This was not necessary, cost-effective or
25 otherwise practical, because there already was a qualified doctor certified in the use of
26 Pipelines available at the University of California, Irvine health system—Dr. Shuichi
27 Suzuki. Therefore, Dr. Coon's expensive cross-country travel made no sense except as
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  1 ~~ a means of incentivizing Dr. Coon by maximizing the amount of money he could
 2 ~ ~ receive from such procedures.
 3         133. This accommodation, or benefit to a high-value doctor, was extended to
 4 ~ ~ other doctors too if they could produce substantial revenue from Pipelines. For
 5 ~ ~ example, on approximately ten separate occasions the Defendants paid for Dr. Moran
 6 ~ ~ (based in St. Louis) to proctor operations at the University of Oklahoma, although
 7 ~ ~ doctors based at this institution were already certified in Pipeline use. Again, there
 8 was no practical reason for this arrangement, other than to provide more kickbacks to
 9 Dr. Moran for generating substantial Pipeline sales, often for off-label and unsafe or
10 inefficacious uses.
11                2.     The Defendants Ignore Self-Imposed Payment
                         Restrictions and Pav Proctors for Work Never
12
                         Performed
13         134. Over and above the excessive and unnecessary payments for work
14
     performed in the proctor program, the Defendants routinely paid doctor proctors
15 kickbacks for work
                        they never even performed. The Defendants knew this, but
16 nonetheless paid such
                           kickbacks because the proctor program was not intended to
17 compensate
                 proctors for work performed. Rather, the proctor program was intended to
18 provide
            a series offinancial incentives to encourage doctors to use as many Pipelines
19 as possible, generating revenue to Defendants which was substantially paid for by
20 government payors.
21          135. For instance, the Defendants frequently paid proctors for a full, eight-
22 hour
           day of work, regardless of how little time the proctor worked. A doctor who
23 ~'
      proctored one operation at his or her home hospital would perform approximately two
24 hours of work, but the Defendants would pay such a physician for eight
                                                                              hours. From
25 at least 2013 on, most proctors worked on only one Pipeline operation in a day, so this
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27
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  1 ~~ type of excess payment(as part of the Defendants' already rich kickback scheme) was
 2 ~ ~ widespread.
 3         136. As another example of money for nothing under the proctor program, the
 4 ~ ~ Defendants frequently compensated proctors for travel that was never undertaken. The
 5 ~ ~ Defendants' stated policy was to pay half of their proctor payment rate (about $200 to
 6 ~ ~ $250 per hour)for a proctor's travel time going to or from Pipeline proctoring duties,
 7 ~ ~ and total travel payments for a day were limited to approximately $1,400 under this
 8 policy. But instead of paying the proctors based on time spent in transit, the
 9 Defendants routinely paid the maximum $1,400.
10         137. If a proctor traveled for one hour, and worked for two hours, under the
1 1 Defendants' ostensible policies they should have paid the proctor $1,000($200 for
12 travel and $800 for work). Nonetheless, in fact, the Defendants would usually pay the
13 proctor $4,600($1,400 for travel and $3,200 for work). The Defendants' practice of
14 making such unjustified payments reveals the true nature ofthese payments as a form
15 ofrevenue sharing which proctors received for using Pipelines, rather than being
16 reasonable compensation for supervising other doctors who used Pipelines or for other
17 Pipeline related work.
18         138. That proctors were routinely paid the $4,600 per day maximum for work
19 and travel is confirmed by the CMS Open Payments database, which collects
20 information on payments from medical device companies to physicians, along with
21 data about the products to which these payments relate. The Open Payments data
22 show that during 2013-2015, out of 8,484 payments from the Defendants to
23 physicians related to "flow diversion" or "pipelines," 266 of these payments were in
24 the exact amount of $4,600, and this is by far the most common dollar amount for
25 payments from the Defendants to physicians (other than numerous payments reported
26 as $10, apparently made for incidental expenses incurred while working or travelling).
27 For example, in 2013-2015, Dr. Britton Keith Woodward alone received at least
28
                                               39
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  1 ~~ twenty separate payments from the Defendants in the precise amount of $4,600,
 2 ~ ~ amounting to $92,000, a substantial portion of which likely relates to "work" never
 3 ~ ~ performed.
 4         139. At the beginning ofthe proctor program in 2011, the Defendants'
 5 ~ ~ payments to proctors were made in lower, more reasonable amounts. At that time the
 6 ~ ~ Defendants paid proctors approximately $1,000 for overseeing a Pipeline operation.
 7 II Z'et, by 2015 the Defendants had increased such payments to approximately $4,000 to
 8 $5,000 per Pipeline operation, with no increase in the amount of work performed by
 9 proctors, and no possible justification for this 400% increase in proctor payments,
10 other than a desire to increase Pipeline sales by tainting doctors' judgment with ever-
1 1 ~ larger kickbacks.
12         140. The Defendants recognized that the large cash payments under the
13 proctor program risked revealing the true nature of this kickback scheme.
14 Accordingly, to maintain the illusion that proctors were paid only reasonable
15 compensation for services rendered and to conceal their actual conduct, the
16 Defendants included a provision in their consulting agreements with proctors that
17 theoretically imposed a $60,000 per year maximum on compensation paid to a given
18 proctor. Despite this stated cap, the Defendants regularly permitted proctors to exceed
19 this maximum by executing amendments to the consulting agreements. These
20 amendments made the cap theoretical rather than real, and therefore meaningless; it
21 was little more than afig-leaf to disguise Defendants' behavior. For example, the
22 Defendants paid Dr. Moran more than $100,000 in 2013 for his Pipeline-related work.
23 The Defendants likewise paid Dr. Woodward more than $130,000 in 2015 for his
24 Pipeline-related work.
25                  3.    Proctors' Hospitals Are The Defendants' Best Customers
26         141. As demonstrated in Exhibit 12, hospitals that are affiliated with Pipeline
27 ~ proctors are among the Defendants' largest sources of Pipeline sales revenues. For
28
                                              .~
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     Medtronic's fiscal quarter ended Apri129, 2015, at least six of the top 10 hospitals by
 2 II Pipeline purchases are home to one or more likely proctors.3 Furthermore, a similarly
 3 ~ ~ large portion of all hospitals that purchased any Pipelines during this fiscal quarter
 4 ~ ~ were affiliated with at least one proctor. Hospitals affiliated with known proctors such
 5 ~ ~ as Dr. Woodward (Fort Sanders Regional Medical Center) and Dr. Moran (Barnes-
 6 ~~ Jewish Hospital) also purchased substantial amounts ofPipelines during this quarter.
 7         142. In addition, Medtronic's data regarding its top 20 customers for its 2016
 8 and 2015 fiscal years (reproduced in Exhibit 11) confirms that proctors' home
 9 institutions are consistently among the top Pipeline purchasers. Again, at least six of
10 the top ten hospitals listed are affiliated with likely proctors.4
11         143. This close link between proctors, their home institutions, and the
12 ~ Defendants' sales revenue is further evidence that the proctor program operates as part
13 of the Defendants' sales operation.
14         144. The proctor program purports to assist medical professionals in learning
15 about Pipelines' proper use. Yet, it primarily operates as an improper financial
16 incentive to encourage physicians to use Pipelines. Defendants even use the proctor
17 program to make some payments to doctors that are unrelated to work performed.
18 These payments, such as paying a proctor for eight hours of work when only two were
19 performed, are thinly disguised kickbacks. Other payments, such as payments to
20 proctors relating to services performed, but which are nonetheless excessive and are
21 primarily intended to promote Pipeline sales, are more heavily disguised kickbacks,
22 but are kickbacks as well. Such payments are based on the amount of business
23
         3 NYU Langone Medical Center, Westchester County Medical Center,
24
   Jefferson Hospital for Neuroscience, Rush University Medical Center, Medical
25 University Hospital Authority, St. Josephs Hospital and Medical Center.
26       4 NYU Langone Medical Center, Jefferson Hospital for Neuroscience,
   Westchester County Medical Center, Johns Hopkins Hospital, Baptist Medical
27 Center, Beth Israel Deaconess Medical Center.
28
                                                41
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 1 ~~ proctors generate and/or that the Defendants expect the proctors to generate. Such
 2 ~ ~ large payments are not warranted by the work performed by the proctors.
 3           B.    The Defendants' Data Collection Program Offered Additional
                   Financial Rewards To Doctors For Using Pipelines
 4
             145. Besides the proctor program, the Defendants formerly maintained
 5
      another kickback program under which they paid doctors between $1,000 and $1,500
 6
      to record data regarding their use of Pipelines. These payments were disguised as
 7
      compensation for services performed by the physicians, but, like payments under the
 8
      proctor program, were primarily meant to encourage the use ofPipelines.
 9
             146. The Defendants required physicians to record only a small amount of
10
      data to be eligible for these payments, such as the size and location of the aneurysm,
11
      and the outcome of the operation. Recording the data did not take a significant amount
12
      of a physician's time. The large payments made to physicians were disproportionate to
13.
      the minimal services provided.
14
             147. Data collected through the Defendants' kickback program was used in
15
      the International Retrospective Study of Pipeline Embolization Device (IntrePED)
16
      study (reproduced in Exhibit 9). This study was funded by the Defendants. Many of
17
      the study's authors, such as Dr. Woodward, participated in the proctor program and
18
      were paid large amounts of money by the Defendants.
19
            148. The IntrePED study reported data from the period July 2008 —February
20
      2013. The PED first obtained FDA premarket approval in Apri12011, so before that
21
      time Pipeline sales were few, and limited to unusual circumstances. It is not known
22
      how many Pipelines were sold during the period of the IntrePED study, but based on
23
      the limited available sales data it appears that the 906 Pipelines reported in the study
24
      constituted a significant percentage of all Pipelines sold during the July 2008
25
      February 2013 period.
26
27
28
                                                 42
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  1        149. This high participation rate demonstrates that the Defendants' data
 2 collection kickback program was highly effective, as physicians jumped at the chance
 3 to obtain such easy money. Furthermore, the high participation rate demonstrates that
 4 a significant proportion of all Pipeline sales are tainted by kickbacks from the
 5 II Defendants.
 6         150. Ostensibly the Defendants' data registry was a way for the Defendants to
 7 obtain information to track Pipelines' performance. In fact, this program operated
 8 primarily as a marketing tool and a vehicle to give more money to doctors using
 9 Pipelines.
10         151. Furthermore, the Defendants likely had no need to collect this data from
11 doctors because the Defendants' sales personnel are present at nearly all operations
12 using Pipelines, and these sales personnel make detailed reports to the Defendants
13 about the uses of Pipelines in such operations.
14         152. Because ofthe high cost of Pipelines, and because the Defendants offer
15 only a limited number of Pipelines to hospitals on consignment, hospitals generally do
16 not maintain inventories ofPipelines. Rather, when an operation calls for a Pipeline, it
17 usually must be obtained from the Defendants, which requires the Defendants' sales
18 ~ personnel to travel to the hospital and provide the required Pipelines. As such, all or
19 most data obtained from physicians through the Defendants' data collection program
20 was already in the Defendants' possession, which further demonstrates that the true
21 purpose of the data collection program is to financially reward physicians for using
22 Pipelines.
23         153. The data collection kickback program complemented the proctor
24 kickback program. Whereas kickbacks under the proctor program are limited to the
25 most active Pipeline users, the data registry kickbacks were available to all physicians,
26 even if they only used a single Pipeline. For each use of a $14,000 Pipeline, the
27
28
                                              :~C
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 1 ~~ Defendants would pay between $1,000 and $1,500 for "data collection," compared
 2 ~ ~ with about $4,000 for "proctoring."
 3          C.    The Defendants' Kickback Scheme Threatens To Bias An Ongoing
                  Clinical Study
 4
            154. In addition to the Defendants' kickback payments made directly to
 5
      physicians, the Defendants have provided lucrative compensation to at least two
 6
      companies owned and operated by a Pipeline proctor, Dr. Woodward. Making matters
 7
      worse, one of Dr. Woodward's companies has been retained to fill the role of an
 8
     unbiased, independent adjudicator to assess the results of an ongoing study being
 9
      performed by the Defendants. The Defendants aim to use the results of this study to
10
     convince the FDA to expand the indication for Pipelines. This is disturbing, improper
11
     and unethical for several reasons including because Dr. Woodward's judgment may be
12
     tainted by his receipt of substantial kickbacks under the proctor program.
13
            155. Between 2013 and 2015 Dr. Woodward himself received more than
14
     $250,000 from Defendants broken down as follows: $40,353,47 in 2013; $83,588.62
15
     in 2014; and $133,641.23 in 2015. During the same time, Dr. Woodward's companies
16
     received more than $380,000 from Defendants for the ostensible purposes of
17
     performing core image lab services related to Pipeline studies. Through the
18
     Defendants' substantial kickback payments made to Dr. Woodward (directly as a
19
     proctor and indirectly through his companies), the results of this study can be
20
     compromised, which would ultimately endanger patients if the study is relied on by
21
     the FDA.
22
            156. Dr. Britton Keith Woodward works in Knoxville, Tennessee, where he is
23
     ~ affiliated with Fort Sanders Regional Medical Center, the Neurovascular Research
24
     ~ Center of East Tennessee, and Vista Radiology, P.C.
25
            157. Dr. Woodward is one of the Defendants' highest compensated Pipeline
26
     ~ proctors. The Defendants made over $250,000 of direct payments to Dr. Woodward
27
28
                                               ..
